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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )         Criminal No. 1:21-cr-00537-JMC
                       v.                        )
                                                 )
 RYAN SAMSEL,                                    )
                                                 )
                  Defendant.                     )
                                                 )

                SAMSEL’S REPLY IN SUPPORT OF “STATUS REPORT”

       Mr. Samsel reiterates his desire to have the Court again transfer him, inter alia, “for the

convenience of the Court,” to USP Lewisburg. See Order (March 4, 2022) (ECF No. 119).

Despite the seventeen (17) pages the government filed in response to Mr. Samsel’s July 6, 2022,

Status Report (ECF No. 180), not one case cited by the government stands for the proposition

that the Court cannot transfer Mr. Samsel, as requested.

       Specifically, the government submits that the Court cannot order Mr. Samsel’s transfer,

“absent a finding of a constitutional violation.” Opp. at 3 (July 12, 2022) (ECF No. 183). The

cases the government cites, however, do not stand for any such proposition. In United States v.

Jones, No. 19-cr-00333, 2020 U.S. Dist. LEXIS 122631 (D. Or. July 13, 2020), a District Court

acknowledged it “could make recommendations” concerning the transfer of a pretrial detainee.

Id. at *5. Jones is also distinguishable in that the defendant had not challenged his access to

counsel and/or his access to his court proceedings. In United States v. Wattenbarger, No. 6-cr-

171, 2007 U.S. Dist. LEXIS 8107 (E.D. Cal. Jan. 25, 2007), a District Court was asked to Order

the U.S. Marshals’ Service to permit the defendant a contact visit with his newborn son, a

request for which the defendant, “ha[d] shown no legal authority to support.” Id. at *1. In

United States v. Bigham, No. 14-cr-20676, 2016 WL 738045 (E.D. Mi. Feb. 25, 2016), a District
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Court declined to order the transfer of a defendant, “[a]bsent any factual substantiation to suggest

that extraordinary circumstances exist in this case, Defendant's vague and conclusory allegations

of racial discrimination and lack of medical care.” Id. at *2. And in United States v. Espinoza-

Arevalo, No. 14-cr-332, 2015 U.S. Dist. LEXIS 174019 (W.D. Mo. Dec. 29, 2015), a District

Court concluded that a defendant’s asserted inability to communicate with facility officials

because he spoke limited English and the facility officials spoke limited Spanish did require the

Court to order the defendant’s transfer absent a constitutional violation.

       The government submits that the Court should not order Mr. Samsel’s transfer from FDC

Philadelphia because the government has a “legitimate government objective” for keeping him

housed there. See Bell v. Wolfish, 441 U.S. 520, 535 (1979) (“[A] restriction on a pretrial

detainee does not constitute punishment unless it is (1) intended as punishment or (2) unrelated

to a legitimate government objective.”). However, the only “legitimate government objective”

asserted by the government is Mr. Samsel’s receipt of medical care that he has now expressly

refused. Moreover, Mr. Samsel has argued that his detention at FTC Philadelphia is intended as

punishment. See Status Report (July 6, 2022) (ECF No. 180). Nevertheless, this Court need not

reach such Constitutional issues.

       Although 18 U.S.C. § 4086 delegates housing decisions to the United States Marshals’

Service, the government cites no authority precluding the Court from ordering a transfer of Mr.

Samsel “for the convenience of the Court.” See Order, United States v. Manafort, No. 18-cr-83

(July 10, 2018) (ordering defendant transferred to facilitate access to counsel and trial readiness

over the defendant’s objection). Indeed, the government opposed Mr. Samsel’s Motion to Stay

the Court’s Order transferring him to FDC Philadelphia. The government simply cannot have it

both ways. As another Court in this District has held, “the Court must safeguard a pretrial
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detainee's constitutional rights . . . .” United States v. Medina, 628 F.Supp. 2d 52, 56 (D.D.C.

2009). Thus, “[i]n cases such as this one, discovery problems and counsel access problems may

plague a case so severely that the Court must resort to a defendant's transfer in order to preserve

the Constitutional right of a speedy trial, access to counsel, and access to discovery.” Id.

Contrary to the government’s focus on the Medina Court’s later procedural history, no authority

cited by the government, contradicts long-standing precedent of this District that the Court may

order the transfer of a pretrial detainee to avoid further deprivation of Constitutional rights and/or

for the convenience of the Court. Indeed, as the Court acknowledged at its last Status

Conference, if the U.S. Marshal’s have any concern in housing Mr. Samsel at USP Lewisburg,

they know how to advise the Court accordingly.

                                [SIGNATURE ON NEXT PAGE]
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Dated: July 20, 2022              Respectfully submitted,

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         v.                                       )
                                                  )
 RYAN SAMSEL,                                     )
                                                  )
                Defendant.                        )
                                                  )

                                 CERTIFICATE OF SERVICE

       On July 20, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to the following registered parties:



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